       Case 1:15-cr-00185-DLH          Document 115         Filed 01/06/17      Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )
               Plaintiff,                     )       ORDER
                                              )
       vs.                                    )
                                              )       Case No. 1-15-cr-185
Donald Lee Divers,                            )
                                              )
               Defendant.                     )



       Before the court is the Defendant’s Motion to Reconsider Order of Detention. (Docket No.

110). In the motion, the Defendant moves the court to reconsider its prior order detaining the

Defendant until trial. (Docket No. 106). The United States opposes the Motion. (Docket No. 113).

       After consideration, the court is not prepared to release the Defendant on any set of

conditions. As stated in the court’s prior order, there is a presumption of detention in the

Defendant’s case. Likewise, the weight of the evidence presented by the United States remains

strong. The Defendant has not provided any evidence militating against these factors. Moreover,

the Defendant has not provided the court with any other information indicating the Defendant’s

circumstances have changed so as to reduce his risk of flight or risk to the community. While the

court can appreciate the Defendant has been in jail for almost a year, and no trial date has yet been

set because of an absent co-defendant, the Defendant may move the court to sever his case if he

wants a more immediate trial. Based on the foregoing, the Defendant’s Motion to Reconsider Order

of Detention, (Docket No. 110), is DENIED.
Case 1:15-cr-00185-DLH        Document 115          Filed 01/06/17      Page 2 of 2




IT IS SO ORDERED.

Dated this 6th day of January, 2017.

                                       /s/ Charles S. Miller, Jr.
                                       Charles S. Miller, Jr., Magistrate Judge
                                       United States District Court




                                          2
